                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  COLUMBIA DIVISION

UNITED STATES OF AMERICA, ex rel.,                    )
KRISTI EMERSON, et al.,                               )
                                                      )
       Plaintiffs,                                    )       Civil Case No.: 1:15-cv-00027
                                                      )       CHIEF JUDGE CRENSHAW
v.                                                    )
                                                      )
SIGNATURE HEALTHCARE, LLC, et al.,                    )
                                                      )       UNDER SEAL
       Defendants.                                    )

               THE UNITED STATES’ NOTICE OF PENDING ELECTION

       The United States hereby notifies the Court that the United States expects to notify the

Court later this week that it elects to partially intervene in this action for purposes of settlement.

The United States, Relators, and Defendants have reached a settlement in principle of the majority

of this action, and have signed a settlement agreement, but the State of Tennessee is also a party

to the settlement agreement and its Attorney General has not yet signed the agreement. The parties

were striving to have a fully signed agreement by the effective election deadline of today, but

although the undersigned do not anticipate any issues with execution of the agreement, the State

requires a couple of additional days to complete its review process for signature. As soon as the

undersigned receive the signature of the State’s Attorney General, they will file a notice of election

and motion to unseal.

                                               Respectfully submitted,

                                               CHAD A. READLER
                                               Acting Assistant Attorney General

                                               DONALD Q. COCHRAN
                                               United States Attorney
                                               Middle District of Tennessee




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                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing Notice of Pending Election
was served via E-Mail and/or First Class U.S. Mail, postage prepaid, on the 29th day of May, 2018,
to the following:

                 Jerry E. Martin
               David W. Garrison                                 Robert K. Lu
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                                                    s/ Sarah K. Bogni
                                                    SARAH K. BOGNI
                                                    Assistant United States Attorney




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